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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
      DEBORAH VANHORN,

              Plaintiff,

      vs.                                                     Case No.: 8:18-cv-00937-CEH-JSS

      CENTENE MANAGEMENT COMPANY, LLC,
      SUNSHINE STATE HEALTH PLAN, INC., AND
      SUNSHINE HEALTH,

               Defendants.
      ____________________________________/

                  JOINT STIPULATION FOR ENTRY OF RULE 502(d) ORDER

            The Parties, by and through their undersigned counsel, hereby stipulate to entry of the

  Federal Rule of Evidence 502(d) Order attached as Exhibit “1.”

  Date: June 4, 2018

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  1
   Attorney Thomas Edmonson Whigham, Jr. is shown on the Federal Court docket as an attorney to be noticed on
  behalf of Plaintiff.
